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                                              Nos. 24-6256, 24-6274

                                                     IN THE
                                United States Court of Appeals
                                     for the Ninth Circuit

                                               EPIC GAMES, INC.,
                                                        Plaintiff-Appellee,
                                                       v.
                                              GOOGLE LLC, et al.,
                                                        Defendants-Appellants.

                               On Appeal from the United States District Court
                                   for the Northern District of California
                                Nos. 3:20-cv-05671-JD, 3:21-md-02981-JD
                                            Hon. James Donato

                   EMERGENCY MOTION FOR PARTIAL STAY OF PERMANENT
                   INJUNCTION PENDING APPEAL UNDER CIRCUIT RULE 27-3
                           [RELIEF NEEDED BY OCTOBER 31, 2024]

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                              CORPORATE DISCLOSURE STATEMENT

                    Pursuant to Federal Rule of Appellate Procedure 26.1, the undersigned

             counsel certifies the following:

                    Google LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of

             Alphabet Inc., a publicly traded company; no publicly traded company holds more

             than 10% of Alphabet Inc.’s stock.

                    Google Payment Corp. is a subsidiary of Google LLC. Google LLC is a

             subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a publicly

             traded company; no publicly traded company holds more than 10% of Alphabet

             Inc.’s stock.

                    Google Commerce Ltd. is an indirect subsidiary of Google LLC. Google LLC

             is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc., a

             publicly traded company; no publicly traded company owns more than 10% of

             Alphabet Inc.’s stock.

                    Google Ireland Ltd. is an indirect subsidiary of Google LLC. Google LLC is

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             Alphabet Inc.’s stock.

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             LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet Inc.,



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             a publicly traded company; no publicly traded company owns more than 10% of

             Alphabet Inc.’s stock.


             Date: October 16, 2024                       /s/ Neal Kumar Katyal




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                                              INTRODUCTION

                    This is an antitrust case involving Google’s app store for Android devices,

             Google Play. At the request of a single competitor, Epic Games, the District Court

             ordered extensive redesigns to Play that will expose 100-million-plus U.S. users of

             Android devices to substantial new security risks and force fundamental changes to

             Google’s contractual and business relationships with hundreds of thousands of

             Google partners. The court gave Google just three weeks to make many of these

             sweeping changes—a Herculean task creating an unacceptable risk of safety and

             security failures within the Android ecosystem.

                    The injunction also requires Google to immediately start incurring millions of

             dollars in costs to develop and build entirely new capabilities and services for Play’s

             rivals. Play will have to make its catalog of two-plus-million apps appear in

             competitors’ app stores, and Play will have to offer rival app stores to Play’s entire

             user base.

                    Epic lost its parallel antitrust case challenging Apple’s App Store, and this

             Court affirmed. Epic Games, Inc. v. Apple Inc., 67 F.4th 946 (9th Cir. 2023). The

             harms to ecosystem safety and security at issue in this appeal will degrade Google’s

             ability to compete with Apple. None of the sprawling remedies and corresponding

             harms can be easily reversed if Google’s appeal succeeds.




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                    A stay pending appeal is warranted. Google has a strong chance of succeeding

             on appeal. In its case against Apple, Epic lost on the question whether Google and

             Apple compete within the very markets that Epic asserted here. This Court affirmed.

             Violating basic preclusion principles, the court below allowed Epic to relitigate that

             issue. It is pause-inducing that Apple, which requires all apps go through its

             proprietary App Store, is not a monopolist, but Google—which built choice into the

             Android operating system so device makers can preinstall and users can download

             competing app stores—was condemned for monopolization.

                    The injunction also violates basic antitrust principles by making the court a

             central planner for the Android ecosystem and forcing Google to service rivals. The

             looming irreparable harm absent a stay is unmistakable: The injunction forces

             fundamental changes to Google’s business model, hobbles Google’s ability to

             compete, inflicts reputational harms, increases security and privacy risks for millions

             of users, magnifies burdens on device makers (OEMs) and over 500,000 developers,

             and requires Google to deal with rivals.

                    This Court should pause these sweeping changes until it has resolved

             Google’s appeal. That is exactly what this Court has repeatedly—and recently—

             done with injunctions that similarly test “the outer limits of the Sherman Act,” FTC

             v. Qualcomm Inc., 935 F.3d 752, 757 (9th Cir. 2019) (per curiam), and what this

             Court did in the parallel Apple litigation, Epic Games, Inc. v. Apple Inc., No. 21-



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             16506, 2021 WL 6755197, at *1 (9th Cir. Dec. 8, 2021), where the district court’s

             state-law-based injunction required a tiny fraction of the overhaul to the Play store

             ordered here. A stay should be granted.1

                                               BACKGROUND

                    Android is an open-source operating system that powers smartphones, tablets,

             and other devices. Google’s launch of Android in 2008 began a long-running

             competition in mobile devices between Google and Apple, which uses its own iOS

             operating system to power iPhones and iPads. Tr. 1122:20-1124:22.2 Google’s Play

             store, like Apple’s App Store, ensures that users have a secure and convenient way

             to populate their devices with apps, Tr. 1141:2-17, which, as we all know from daily

             experience, are “essential components of smartphones.” Tr. 2456:18-20.

                    Epic Games wanted to distribute the game Fortnite through Play and Apple’s

             App Store without paying a commission. Tr. 2014:3-4, 2088:23-2091:3. When the

             companies refused, Epic devised a “highly choreographed attack” called “Project

             Liberty.” Epic Games, Inc. v. Apple Inc. (“Apple I”), 559 F. Supp. 3d 898, 935 (N.D.

             Cal. 2021), aff’d in part, rev’d in part, 67 F.4th 946 (“Apple II”) (9th Cir. 2023).

             Epic secretly wrote code into Fortnite to circumvent the app stores’ billing systems;


             1
                    Google does not seek to stay ¶ 8 of the injunction, which Google previously
             agreed to in a settlement with state attorneys general. Dkt. 522-2 at 21-22, 27-28,
             Case No. 3:21-cv-05227-JD.
             2
                    Unless otherwise specified, “Tr.” refers to the trial transcript and “Dkt.” refers
             to the multidistrict litigation docket, No. 3:21-md-02981-JD (N.D. Cal.).

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             Google and Apple kicked Epic out of their respective stores for violating contractual

             terms; and Epic sued Google and Apple separately, on the same day, asserting

             federal antitrust and California state-law claims against each. Tr. 2026:14-24,

             2065:16-2076:15. Epic sought only injunctive relief. Tr. 2030:4-6.

                    Epic’s suit against Apple went to a bench trial first. Epic argued that Apple’s

             App Store competed in its own market, not with Android app stores like Play. Apple

             II, 67 F.4th at 970. The district court rejected Epic’s Apple-only markets. It found

             Google was the “main competitor” of Apple’s App Store in the relevant market and

             rendered judgment against Epic on all antitrust claims. Apple I, 559 F. Supp. 3d at

             922, 1021 & n.580, 1023–26, 1030. This Court affirmed in relevant part. Apple II,

             67 F.4th at 966, 980–81.

                    In this parallel suit, Epic likewise argued that Apple’s App Store and Play

             operated in separate markets. Epic defined the relevant markets as “Android App

             Distribution” and “Android In-App Payment Processing,” excluding Apple. Dkt. 82

             at 25, 57. Epic challenged certain contracts between Google and OEMs, carriers,

             and developers. Unlike Apple’s iOS, Google licenses Android to OEMs for free,

             and unlike Apple’s single App Store, Android OEMs can preinstall competing app

             stores and users can download both apps and app stores from multiple sources. Epic

             alleged that the challenged agreements helped Play secure favorable placement on




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             Android devices and obtain better content, and also challenged Play’s billing

             policies.

                    Epic’s case was consolidated in a multidistrict litigation with cases filed by a

             group of states, other developers, and a putative class of consumers, all of whom

             sought damages. See Dkt. 1. As trial approached, every case except Epic’s settled.

             In the State Settlement, Google and every state attorney general in the country agreed

             on changes that Google would make to the same contractual agreements that Epic

             had challenged. Dkt. 522-2 at 21-22, 27-28, Case No. 3:21-cv-05227-JD. That

             settlement has been awaiting preliminary approval in the District Court since

             December 2023.

                    The District Court refused to hold a bench trial on Epic’s antitrust claims even

             though Epic sought only injunctive relief. Dkt. 725; Tr. 6:13-7:14. And although

             this Court had already affirmed the finding that Google and Apple compete, the

             District Court in this case reasoned that issue preclusion did not prevent Epic from

             relitigating this issue. Dkt. 984 at 7. As a result, the jury returned a verdict against

             Google after finding that the relevant markets excluded Apple. See Dkt. 850 at 22.

                    Having refused to hold a bench trial, the court lacked specific findings to use

             in crafting a remedy. The court nonetheless refused Google’s request for standard

             legal briefing on remedies. Dkt. 1016 at 1. Instead, the court had Epic propose terms

             for an injunction unaccompanied by any legal brief, see Dkt. 952, let Google object,



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             see Dkt. 958, and held limited hearings focused on potential implementation of

             certain proposed remedies, see Dkt. 1000 (remedial hearing); Dkt. 977 (economist

             testimony); see also Dkt. 982 (Google’s submission on feasibility).

                    On October 7, the District Court issued a sweeping injunction ordering

             Google to overhaul its products, services, and contracts. The injunction further

             forces Google to build new services specifically for its competitors.

                    The District Court adopted most of the injunctive provisions that Epic

             requested, without making detailed factual findings about their necessity or

             appropriateness. Sua sponte, the court created a “technical committee” comprised

             of an Epic representative, a Google representative, and a third representative to be

             chosen by the first two. It tasked the committee with resolving technology and

             implementation disputes; a party may seek judicial resolution of disputes the

             committee cannot resolve. (¶ 13). The prohibitions apply for three years from their

             effective date and fall broadly into three categories, the first two of which must be

             in effect by November 1—less than three weeks from today (and less than four

             weeks from issuance of the injunction).

                       1. Contractual restrictions.

                    The injunction significantly limits Google’s ability to provide incentives to

             third-parties to make Play more attractive to users. It restrains Google from sharing

             Play revenue with entities that distribute or intend to distribute Android apps and



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             from conditioning “payment, revenue share, or access to any Google product or

             service” on a developer’s agreement to launch an app first or exclusively on Play or

             not to launch a version with additional features elsewhere. (¶¶ 4-6). Google likewise

             cannot condition “payment, revenue share, or access to any Google product or

             service” on an OEM’s agreement to preinstall Play in a particular location on a

             device. (¶ 7).

                       2. Billing restrictions.

                    Although Epic offers no products through Play, the court ordered Google to

             change Play’s billing policies for developers who do, making it harder for Google to

             collect fees for its developer services and for users to have a known, trusted source

             for payments. Google may not require Google Play Billing be used in apps or for

             in-app purchases, may not prohibit developers from telling users “about the

             availability of a payment method other than Google Play Billing” or “about the

             availability or pricing of an app outside the Google Play store,” and may not prevent

             developers from “providing a link to download the app” somewhere else. (¶¶ 9-10).

                       3. Duties to serve competitors.

                    Google must build two new features to aid its rivals: “catalog sharing,” i.e.,

             functionality that enables competitors to offer the Play catalog of apps through their

             own stores (¶ 11), and “third-party app store distribution,” i.e., offering downloads

             of competing app stores through Play (¶ 12). Although the latter can expose Play



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             users to safety and security issues, illegal goods and services, and content that

             violates Google’s content standards (by including sexual content, hate speech,

             malware, or fraudulent material, among other concerns), Google cannot take steps

             to ensure third-party stores, and their apps, are safe, legal, and comply with Google’s

             content policies unless Google can prove such measures “are strictly necessary and

             narrowly tailored.” (¶ 12).

                    Despite Google’s evidence of the necessary timeline to safely and securely

             develop, build, and test catalog access and third-party app store distribution, the

             District Court ordered these remedies be fully operational in eight months—four

             months faster than Google’s witness said was possible. Dkt. 981-1 at 10, 15.

                    Google promptly appealed, see 28 U.S.C. § 1292(a)(1), moved to partially

             stay the injunction, and requested an administrative stay of the November 1 effective

             date to allow Google’s stay motion to be resolved before the effective date. The

             District Court set a hearing on Google’s administrative motion for Friday, October

             18, but has not acted on Google’s request for an administrative stay.

                                            LEGAL STANDARD

                    To determine whether to issue a stay pending appeal, this Court considers (1)

             whether the movant “has made a strong showing that [it] is likely to succeed on the

             merits”; (2) whether the movant “will be irreparably injured absent a stay”; (3)

             whether the public interest favors a stay; and (4) whether a stay “will substantially



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             injure the other parties.” Al Otro Lado v. Wolf, 952 F.3d 999, 1006-07 (9th Cir.

             2020) (quotation marks omitted). “[A] stronger showing of one element may offset

             a weaker showing of another.” Id.

                    “An applicant for a stay need not demonstrate that it is more likely than not

             they will win on the merits, but rather must show a reasonable probability or fair

             prospect of success.” Qualcomm, 935 F.3d at 755. If “the balance of the hardships

             tips sharply” in the movant’s favor and there are “serious questions going to the

             merits,” a stay is warranted. Flores v. Barr, 977 F.3d 742, 746 (9th Cir. 2020)

             (quotation marks omitted).

                                                ARGUMENT

             I.     THERE IS A STRONG LIKELIHOOD GOOGLE WILL SUCCEED
                    ON APPEAL.

                    Google has a strong likelihood of success. Violating basic rules of issue

             preclusion, the court improperly permitted Epic to ask the jury to eliminate Google’s

             “main competitor”—Apple—from the relevant markets. The court also upended the

             elementary principle that injunctive-relief claims are tried to the bench, not a jury.

             And the injunction itself contravenes multiple principles of antitrust law. There is a

             more than fair prospect this Court will reverse.




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                    A. The Liability Verdict Is Fatally Flawed.

                            1.     The District Court Committed Multiple Legal Errors In
                                   Allowing Epic To Exclude Apple From The Rule-of-Reason
                                   Analysis.

                    Epic has never argued Google has sufficient market share to exercise

             monopoly power if Apple and Google are both in the relevant markets. Its entire

             approach here, and in Apple, was to divide and conquer, asserting neither company

             competed against the other. Apple I, 559 F. Supp. 3d at 921. In Apple, that stratagem

             failed. Epic should not have been granted a do-over here.

                    Issue preclusion bars parties from relitigating an issue that was squarely

             presented and necessarily decided in a prior litigation. SEC v. Stein, 906 F.3d 823,

             828 (9th Cir. 2018). Epic’s parallel suit against Apple squarely addressed whether

             Google Play and the Apple App Store compete for app distribution or in-app

             purchases. Compare Findings of Fact and Conclusions of Law Proposed by Epic

             Games, Inc. at 72 ¶ 44, 93-95 ¶¶ 175-177, 131-132 ¶¶ 225-228, Apple I, No. 4:20-

             cv-5640-YGR (N.D. Cal. May 28, 2021), Dkt. 777-3, with Tr. 3376:7-14, 3378:18-

             20 (Epic closing); Tr. 2425:11-13, 2428:5-6, 2433:14-16. The Apple court rejected

             Epic’s arguments after a bench trial. Apple I, 559 F. Supp. 3d at 954-955, 958-960,

             971, 976-978, 1024, 1030-32, 1036, 1043. Epic appealed, but this Court affirmed.

             Apple II, 67 F.4th at 973-999.




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                    As relevant here, Apple held that Google is a “significant competitor” of

             Apple in the “same market” for digital transactions—including app downloads and

             in-app purchases—related to gaming apps. Apple I, 559 F. Supp. 3d at 977, 997

             n.484. That finding should have been the end of Epic’s case here because Epic has

             never argued Google has monopoly power if Apple is in the relevant markets. The

             District Court nevertheless permitted Epic to relitigate the issue, see Dkt. 984 at 6-

             8, and the jury ultimately found that Google does not compete with Apple for paid

             app downloads or in-app purchases, directly conflicting with the findings this Court

             affirmed in Apple.

                    The District Court’s reasoning holds no water. The Court dismissed the

             market definition issues as “plainly not the same,” but its only explanation boiled

             down to the fact that this case is about Play and Android, and that case was about

             Apple and iOS. See Dkt. 984 at 7. That distinction makes no sense: The proper

             question is whether Epic should have been allowed to reargue the prior judicial

             finding that Google and Apple compete within the markets asserted here. Preclusion

             exists precisely to avoid such “inconsistent results.” Clements v. Airport Auth. of

             Washoe Cnty., 69 F.3d 321, 330 (9th Cir. 1995).

                    The District Court compounded its error by instructing the jury to apply an

             entirely different legal framework to the market definitions in this case than the one

             the Apple district court applied, even though this Court confirmed the Apple district


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             court got the law right. See Dkt. 984 at 8-9. The Apple court correctly required Epic

             to prove that the markets for apps and in-app purchases are truly independent of the

             markets for smartphones and other devices; Epic’s failure to make the necessary

             showing was the very reason its antitrust claim failed. Apple II, 67 F.4th at 980-981;

             Apple I, 559 F. Supp. 3d at 984-987. The court here excused Epic from making that

             same showing. Tr. 3054:13-3056:17. Such a direct conflict with Circuit precedent,

             including Apple, see 67 F.4th at 981 (citing Newcal Indus., Inc. v. Ikon Office Sol.,

             513 F.3d 1038 (9th Cir. 2008)), more than justifies a stay pending appeal.

                            2.     The District Court Disagreed With Other Circuits On Serious
                                   Legal Issues That Present Substantial Appellate Questions.

                    At two critical junctures, the District Court refused to follow persuasive

             authority from other circuits. Both are substantial questions for appeal, since

             affirmance would result in “unwarranted circuit split[s], a result [this Court]

             understandably avoid[s] if at all possible.” United States v. Anderson, 46 F.4th 1000,

             1008 (9th Cir. 2022).

                    First, the court erred in refusing to hold a bench trial in a case seeking

             exclusively injunctive relief. It is a fundamental principle that “judges, not juries,

             determine equitable claims, such as requests for injunctions,” Teva Pharms. USA,

             Inc. v. Sandoz, Inc., 574 U.S. 318, 326 (2015), and Epic only ever sought injunctive

             relief. The court nevertheless held a jury trial, concluding Google “consented” to a

             jury trial in a single sentence from a joint filing offering a proposal for a trial that


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             “includes Epic, the [developer] Plaintiffs, the States, and the individual consumer

             plaintiffs,” see Dkt. 505 at 3 (emphasis added), and stray remarks in an opposition

             to a bifurcation motion—both filed when Epic’s case was consolidated with cases

             brought by numerous parties who sought money damages and were entitled to a jury

             trial, Dkt. 573 at 5.

                    Even assuming these filings somehow amounted to “consent” to a jury trial

             on Epic’s standalone injunctive-relief claims, other Circuits have recognized that

             such consent may be withdrawn even “days before trial” where, as here, the opposing

             party is not constitutionally entitled to a jury. FN Herstal SA v. Clyde Armory Inc.,

             838 F.3d 1071, 1089-90 (11th Cir. 2016); accord Kramer v. Banc of Am. Sec., LLC,

             355 F.3d 961, 968 (7th Cir. 2004). There was no more showing of “prejudice” to

             Epic than in either of those cases, Dkt. 984 at 28; on the contrary, neither the District

             Court nor Epic has ever articulated any prejudice Epic would have suffered. The

             prejudice to Google, by contrast, is clear: The District Court repeatedly invoked the

             jury’s verdict throughout the remedial proceedings, consistently dismissing

             Google’s arguments that Epic failed to prove various aspects of its entitlement to an

             injunction by claiming the jury verdict settled a given issue, even where it was not

             an issue the jury confronted—much less necessarily decided. See, e.g., Dkt. 1016 at

             11, 16; May 23 Hrg. Tr. 29:6-13; 59:2-4; 105:6-17.




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                    Second, the court wrongly told the jury not to consider some of Google’s key

             procompetitive justifications for its conduct. Google’s case was built in significant

             part around demonstrating that keeping the Play store competitive with Apple’s App

             Store is an essential aspect of ensuring Android devices remain competitive with

             iPhones. See supra p. 3. The court, however, refused to allow the jury to consider

             this competition if it found Apple outside the markets. See Tr. 3257:22-3258:12;

             3328:11-16; 3332:22-3333:1.         But the Supreme Court and this Court have

             consistently looked to “cross-market rationales in Rule of Reason and

             monopolization cases.” Apple II, 67 F.4th at 989 (collecting cases). This issue has

             divided other circuits, underscoring that it presents a substantial question. Compare,

             e.g., Deslandes v. McDonald’s USA, LLC, 81 F.4th 699, 703 (7th Cir. 2023), with

             Sullivan v. NFL, 34 F.3d 1091, 1112-13 (1st Cir. 1994). There is at least a

             “reasonable probability” this Court will see the issue differently from the District

             Court. Qualcomm, 935 F.3d at 755.3

                    B.      The Injunction Is Legally Flawed.

                    Even if the liability verdict stands, the injunction cannot. The sweeping order

             goes far beyond what the law allows or the trial record could support—which is


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                    The court describes Epic’s claim under California’s Unfair Competition Law
             as an “independent state law basis” for the injunction. Dkt. 1016 at 6. But the court’s
             two-page liability analysis on the UCL depends entirely on the jury’s verdict, id. at
             3-4, and thus rises or falls with the verdict. The parties never even briefed whether
             Google violated the UCL.

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             unsurprising since the District Court never required Epic to file a legal brief

             supporting its proposals.

                            1. The Injunction Makes The Court—And Its Technical
                               Committee—Central Planners For Vague Prohibitions.

                    Contravening      basic   antitrust    principles,   the   injunction   assigns

             micromanagement of Play and Android to the court and a court-created technical

             committee. See, e.g., Nat’l Collegiate Athletic Ass’n v. Alston, 594 U.S. 69, 103

             (2021) (“judges make for poor ‘central planners’ and should never aspire to the

             role”) (quoting Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko LLP, 540

             U.S. 398, 408 (2004)); Allied Orthopedic Applicants Inc. v. Tyco Health Care Grp.

             LP, 592 F.3d 991, 991, 1000 (9th Cir. 2010) (courts are ill-suited to comparing

             “benefits of an improved product design against the resulting injuries to

             competitors”).

                    To comply, Google will have to modify its products in hundreds, if not

             thousands, of ways. See, e.g., Dkt. 1000 at 25:19-26:10 (discussing build of new

             database); Dkt. 981-3 at 17-20 (discussing changes to permit distribution of third-

             party app stores). It will have to answer major questions left open by the injunction

             such as: What security protections can Google adopt to ensure that alternative billing

             systems and external links provided to users are secure? What terms of service

             govern catalog access and third-party app distribution? What catalog data must

             Google provide to third-party app stores? How often? See, e.g., Dkt. 1020-3 ¶¶ 5-


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             14, 22-25; Dkt. 1000 at 10:24-12:9 (questions about metadata); id. at 44:12-45:9

             (questions about interface design); id. at 24:3-25:9 (questions about software

             release).

                    Google’s answers to all these questions (and many others) are subject to

             review by Epic—a single competitor interested in its own bottom line—through

             Epic’s appointee to the technical committee, and by the court. Delegating an

             injunction’s interpretation to a non-Article III, non-consented-to technical

             committee is unprecedented and confirms the court understood the many lurking

             vagueness problems. See Fortyune v. Am. Multi-Cinema, Inc., 364 F.3d 1075, 1086-

             87 (9th Cir. 2004). Equally concerning, unlike rulings by special masters or

             magistrate judges, it is unclear whether Google can seek judicial review of technical

             committee decisions. Dkt. 1017 ¶ 13. And to the extent there is judicial review, it

             puts the court deep in the weeds of product functionality, contrary to controlling

             precedent. See Alston, 594 U.S. at 102-103.

                            2. The Injunction Flouts Foundational Legal Limits On Remedial
                               Authority.

                    The injunction violates clear limits on an antitrust court’s remedial authority

             in at least two major ways.

                    First, firms generally have no duty to deal with their rivals at all, let alone on

             court-ordered, favorable terms. See Trinko, 540 U.S. at 409; FTC v. Qualcomm Inc.,

             969 F.3d 974, 993-994 (9th Cir. 2020). Yet, for three years, the injunction requires


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             Google to distribute rivals’ app stores through Play and allow any rival store to offer

             Play’s full catalog of apps to users of that store. Dkt. 1017 ¶¶ 11-12. The court

             acknowledged that these requirements will stifle competition while in effect by

             disincentivizing other stores from investing in building their own relationships with

             developers and app store infrastructure. Dkt. 977 at 50:8-51:19; see also Dkt. 957-

             1 at 24, 26-27, 31-32, 35.

                    The District Court rejected Google’s argument that Trinko and its progeny

             apply beyond the liability phase. Dkt. 1016 at 13-14. But the Supreme Court has

             instructed that “[s]imilar considerations” apply at both phases of the case. See

             Alston, 594 U.S. at 102. And imposing a remedy that stalls competition is reversible

             error. See Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1225 (9th

             Cir. 1997) (striking portion of remedy that “promote[d] free-riding”); Massachusetts

             v. Microsoft Corp., 373 F.3d 1199, 1219 (D.C. Cir. 2004) (striking a remedy that

             allowed “clon[ing]” defendant’s products).

                    Imposing remedies that go beyond restraining unlawful conduct requires

             proof of a “significant causal connection” between the relief ordered and the

             violation found. Optronic Techs., Inc. v. Ningbo Sunny Elec. Co., 20 F.4th 466, 486

             (9th Cir. 2021) (quotation marks omitted). Here, the Court found on summary

             judgment that there was no duty-to-deal violation at all. 10/19/23 Hrg. Tr. at 5:3-

             6:2. The District Court nevertheless insisted that two duty-to-deal remedies—



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             catalog access and third-party store distribution—were necessary to overcome

             Google’s “network effects”—i.e., that developers are drawn to Play’s large numbers

             of users and vice versa—and held it irrelevant “whether Google’s anticompetitive

             conduct caused the network effects.” Dkt. 1016 at 11.

                    But that is the whole ball game: Antitrust law cannot deprive a company of

             “network effects”—or any other competitive advantages—gained through legitimate

             competition. See United States v. Microsoft Corp., 253 F.3d 34, 80 (D.C. Cir. 2001)

             (en banc). This Court is likely to reject the District Court’s startling theory that an

             antitrust injunction must “level the playing field” regardless of whether a company’s

             advantages are attributable to anticompetitive conduct.

                    Here, the catalog-access and app-store-distribution remedies lack any

             connection to Epic’s liability theory. Epic never argued or presented evidence it was

             anticompetitive for Google not to share its app catalog with other Android app stores.

             Epic argued the opposite, insisting that unique content was the key to competition.

             Tr. 2400:24-2401:15, 2409:8-2410:7.

                    The court’s citation to an internal Google slide deck from 2017 discussing

             Amazon does not supply the missing link. Dkt. 1016 at 11. At most, that evidence

             suggests that network effects contribute to Play’s success; they do not suggest any

             causal connection between Google’s anticompetitive conduct and those network

             effects. Quite the contrary: Virtually all the conduct Epic challenged postdated



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             2017, strongly suggesting Google’s network effects predate and are thus

             independent of the challenged conduct. See, e.g., Tr. 411:14-16; Tr. 1052:23-

             1053:6. Moreover, the court never acknowledged evidence that Amazon declined

             to make necessary investments to seriously compete, an alternative explanation for

             Amazon’s lack of success. Trial Exh. 11405; Morrill Tr. at 100:05-12, 286:02-11;

             Tr. 2102:24-2103:11, 2324:23-2325:25.

                    Second, the injunction imposes direct price regulation, which this Court’s

             precedents squarely foreclose. Kodak, 125 F.3d at 1225. Kodak concluded it was

             reversible error to require “forced sales at reasonable prices” instead of allowing

             companies to charge “what the market will bear” for their products and services. Id.

             at 1225-26 (emphasis added). The injunction here flouts that clear command,

             limiting Google to charging a “reasonable fee” for security services related to third-

             party store distribution that must be based on Google’s “actual costs.” Dkt. 1017

             ¶ 12. The District Court was wrong to insert itself into Google’s pricing decisions.

             Pacific Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S. 438, 452-453 (2009);

             Kodak, 125 F.3d at 1225-26.

                            3. Epic Failed To Prove Article III Standing.

                    Epic failed to prove its standing to pursue the injunction. In a case where a

             single competitor seeks relief that will affect the entire alleged market, including




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             millions of non-parties, that omission is a particularly grave error. See California v.

             Am. Stores Co., 495 U.S. 271, 295 (1990).

                    Article III standing for injunctive relief requires a future injury that is

             “redressable by a favorable ruling.” Clapper v. Amnesty Int’l USA, 568 U.S. 398,

             409 (2013).      When redressability depends on the anticipated conduct of

             “independent decisionmakers,” plaintiffs must show there is a reasonable probability

             “that, in the near future” those third parties will act as predicted. Murthy v. Missouri,

             144 S. Ct. 1972, 1986 (2024).

                    Epic’s redressability theory assumes that developers, OEMs, and mobile

             carriers will react to the District Court’s injunction in a way that redresses Epic’s

             injury. See, e.g., Dkt. 952-1 at 10-12. But the law requires proof of that causal

             connection, see Murthy, 144 S. Ct. at 1989-95, and Epic offered no such proof during

             the remedies phase.

                    For the provisions related to Play’s billing policies, see Dkt. 1017 ¶¶ 9-10,

             moreover, Epic has not even attempted to show any threat of ongoing injury. City

             of Los Angeles v. Lyons, 461 U.S. 95, 105-106 (1983). Epic offered no proof that it

             can or will again offer apps on the Play store. Epic is thus not subject to billing

             policies for apps offered there. Epic also cannot assert injury as a potential billing

             competitor to Google because Epic offers no billing system for other third-party




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             stores to use. See Tr. 530:17-19. Article III prohibits the District Court from issuing

             an injunction at Epic’s urging that does not impact Epic.

             II.    THE EQUITIES STRONGLY FAVOR A STAY.
                    A. The Injunction Irreparably Harms Google.

                            1.       Mandating Changes That Affect User Safety And Security
                                     Will Irreparably Harm Google’s Brand And Reputation.

                    The injunction injects real risks of security incidents, privacy breaches,

             financial harm, and other dangers that will irreparably harm Google by jeopardizing

             its hard-earned reputation for safety and security. Such reputational harm is

             irreparable. Herb Reed Enters., LLC v. Fla. Entm’t Mgmt., Inc., 736 F.3d 1239,

             1250 (9th Cir. 2013); see Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848 (9th

             Cir. 2017).

                    The injunction’s prohibitions related to providing users links and enabling

             alternative billing (¶¶ 9-10) raise significant security risks, made worse by the three-

             week compliance deadline. As the head of Android security and privacy engineering

             has explained, unknown links could be used “to smuggle malware onto a phone,

             steal a user’s data, engage in a phishing or spear phishing attack, track a user’s

             activities in other apps on the device, or otherwise jeopardize a user’s privacy and

             security.” Dkt. 1020-3 ¶ 6. And external payment systems mean that new actors

             will soon be collecting “highly sensitive information from users, including credit




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             card numbers, addresses, email addresses, bank account numbers, and more.” Id.

             ¶ 11. The court’s timeline leaves virtually no time to mitigate these risks.

                    The catalog access and distribution of third-party stores are likewise fraught

             with risk. There are hundreds of Android app stores, and access to the Play catalog

             would give third-party app stores a veneer of legitimacy “by augmenting the

             volume” of apps they contain. Dkt. 981-3 ¶¶ 71-77 (describing problematic app

             stores). Despite Google’s request to set eligibility criteria, the injunction leaves

             uncertain what rules will govern the catalog-access remedy. Insufficient eligibility

             criteria will “jeopardize user security” because, for example, “malicious actors” can

             “easily set up a shell third-party ‘store’ and populate it with apps from Google Play,

             along with malicious, deceptive, or pirated content.” Dkt. 1020-3 ¶ 14. “The

             legitimate apps populated from Google Play will make it much easier for bad actors

             to pose as legitimate stores.” Id. A developer’s decision to opt-out from a particular

             store will not tell users that similarly named apps in the store are pirated versions,

             and it will be harder for users to recognize threats “because the non-Play store

             otherwise looks like it has the entire Play catalog available for download.” Id. ¶ 16.

                    With respect to the forced distribution of third-party stores, the injunction

             injects substantial confusion by stating that Google must prove any vetting of the

             content of those stores is “strictly necessary and narrowly tailored.” Dkt. 1017 ¶ 12.

             Like any good security policy, however, Google’s vetting policies for apps on Play



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             “err on the side of protecting users” and are designed to “anticipate problems.” Dkt.

             1020-3 ¶¶ 23-24. As Android’s head of security explains, “[a] security policy that

             is entirely or primarily reactive to only demonstrated threats is no security policy at

             all.” Id. ¶ 24.

                    These security risks not only threaten irreversible harm to users and

             developers, infra pp. 26-28, they threaten Google’s reputation. Play’s global head

             of marketing explained that consumer surveys have “consistently show[n] that users

             seek out apps from the Play store, in part, because of [Google’s] commitment to

             safety and security,” and that “users consistently rank security as one of the most

             important considerations when selecting smart devices.” Dkt. 1020-2 ¶¶ 4, 11(b).

             Users who experience harm as a result of the injunction’s remedies “are likely to be

             confused” and thus “likely to misattribute any harms they experience at least in part

             to the Play store and to Google.” Id. ¶¶ 9-10. This, in turn, may lead users to “stop

             using the Play store [or] even switch away from Android devices to iPhones.” Id.

             ¶ 11. It will be “exceptionally difficult—if not impossible—to reverse” the loss of

             trust in Google even if this Court ultimately reverses. Id. ¶ 16.

                            2.       Forced Changes To Google’s Business Practices And Forced
                                     Service Of Competitors Is Irreparable Harm.

                    The injunction requires, by design, “fundamental business changes that …

             cannot be easily undone” if the injunction is vacated on appeal. Qualcomm, 935

             F.3d at 756 (citing NCAA v. Bd. of Regents of Univ. of Okla., 463 U.S. 1311, 1313-


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             14 (1983)); Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 559 F.3d 1046, 1057-

             59 (9th Cir. 2009)). These changes include costly alterations to Google’s business

             model that threaten to “disrupt and change the whole nature of [its] business.” Am.

             Trucking Ass’ns, 559 F.3d at 1058. Google must also “renegotiate existing

             [contractual relationships] on a large scale.” Qualcomm, 935 F.3d at 756. All of

             this constitutes irreparable harm under Circuit precedent.

                    These changes will put Google “at a competitive disadvantage” against other

             app stores, including its principal competitor, Apple’s App Store. Int’l Franchise

             Ass’n, Inc. v. City of Seattle, 803 F.3d 389, 411 (9th Cir. 2015). That too “constitutes

             irreparable harm.” Id. The court wrongly suggested that Google “agreed” to the

             contractual remedies in ¶¶ 4-7. Dkt. 1016 at 9. Google proposed narrower versions

             of these provisions—in line with the remedies in the State Settlement—to address

             the challenged conduct while preserving Google’s ability to compete against major

             potential Android app store competitors like Microsoft, and Apple’s App Store. Dkt.

             1000 at 140:24-143:25.

                    Catalog sharing “threaten[s] developers’ continued participation in the Play

             store.” Dkt. 1020-2 ¶ 13. By default, all apps are shared, which may mean they

             appear alongside pirated or otherwise objectionable content like pornography or hate

             speech in competing stores. See id.; Dkt. 981-3 ¶¶ 20-77 (collecting real world

             examples). The opt-out mechanism imposes burdens on developers who will need



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             to constantly evaluate the stores in which their apps are available and the other

             content in those stores (which they may not want to be alongside). Dkt. 1020-2 ¶

             14. Developers who opt out, moreover, take on different risks, including that users

             will download a fake or fraudulent version of the developer’s app—instead of the

             real thing—from what otherwise appears to be a legitimate app store offering the

             millions of apps in the Play catalog, Dkt. 1020-3 ¶ 16.

                            3.       Forcing Google To Immediately Begin Incurring Millions
                                     Of Dollars To Design And Build The Ordered Remedies Is
                                     Irreparable Harm.

                    Irreparable harm includes unrecoverable business costs. See In re Victor

             Techs. Sec. Litig., 792 F.2d 862, 864 (9th Cir. 1986). The cost of building,

             implementing and maintaining these remedies will be significant, likely over $100

             million—much of which will not be recoverable after appeal. Dkt. 981 at 2; Dkt.

             982-3 at 6-8; Dkt. 982-4 at 4-6; Dkt. 1000 at 19:15-19.

                            4.       An Unworkable Effective Date For Safe Implementation Is
                                     Irreparable Harm.

                    Between now and November 1, there is not sufficient time to revise steering,

             payment, and linkout policies or to roll out major changes to millions of devices and

             users. As Android’s head of security put it, “the company has never rolled out a new

             feature to millions of new users at scale in just three weeks.” Dkt. 1020-3 ¶ 9. The

             “recent Crowdstrike malfunction” on another large-scale platform underscores that

             moving too fast “create[s] major security risks.” Id. There, a software update’s


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             programming flaw “caused an entire platform to crash” and “worldwide service

             disruptions for several days.” Id. The November 1 compliance deadline here creates

             a similar risk. See id. ¶¶ 9, 13.

                    The court’s arbitrary decision to require catalog access and third-party app

             store distribution in just eight months will similarly cause irreparable harm absent a

             stay. Google detailed why these changes required a 12-16 month timeline—and the

             consequences of having to develop, build, and roll out brand new services without

             adequate time to test them. Dkt. 1020-1 ¶¶ 14, 22; Dkt. 981-3 ¶¶ 47-62, 54-69; Dkt.

             981-1 ¶¶ 32-36, 42-44. Put starkly, “compressing the timeline for a substantial new

             product—in this case, one involving millions of apps distributed to potentially

             hundreds or even thousands of app stores—can create major unintended

             consequences that affect broader functionality.” Dkt. 1020-3 ¶ 17; see also id. ¶ 28

             (same for third-party-store distribution).

                    B.      The Public Interest Weighs In Favor Of A Stay Given The
                            Immediate And Harmful Effects Of The Injunction On Millions Of
                            Non-Parties To This Litigation.

                    The injunction’s provisions and compliance timeline expose users and

             developers to heightened risks of malicious, fraudulent, deceptive, pirated, and

             otherwise unlawful and harmful content. See generally Dkt. 1020-1, 1020-2, 1020-

             3. These harms are likewise irreparable. As Android’s head of security noted,

             “trying to undo compromised data is like putting toothpaste back in the tube.” Dkt.



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             ¶ 1020-3 ¶ 7. “Users’ data may be sold on the dark web to other bad actors” in a

             vicious cycle that is “extremely difficult” to stop. Id. The injunction also forces

             over 500,000 non-party U.S. app developers to figure out whether to revoke the

             forced license to their intellectual property granted through catalog sharing and

             makes it harder for OEMs to generate competition for screen space on devices they

             build. See Dkt. 1017 ¶ 10; Dkt. 981 at 9-10.

                    While promoting competition serves the public interest, the court below

             recognized that this injunction will stifle competition while in effect, because all app

             stores—regardless of effort, investment, or legitimacy, will have access to Play’s

             catalog. See Dkt. 977 at 50:8-51:19; Dkt. 957-1 at 29-30. Just as concerning, the

             injunction hampers Google’s ability to compete with Apple. See Dkt. 1020-2 ¶¶ 11,

             14(d), 15.     It is counterintuitive that Apple can continue its “walled garden”

             approach, Apple I, 559 F. Supp. 3d at 922, while the injunction restrains Google—

             which already operates a more open platform—from providing a counterweight to

             Apple in the marketplace. See Tr. 2035:15-24.

                    The State Settlement likewise provides powerful evidence the injunction is

             unnecessary to protect consumers or restore competition. Nearly a year ago, Google

             and every State, acting parens patriae, provided the court with a settlement that

             includes extensive changes to Google’s contractual arrangements with business

             partners. Dkt. 522-2, Case No. 3:21-cv-05227-JD. The States explained that those



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             changes addressed the core alleged anticompetitive conduct while preserving

             Google’s ability to compete. Id. at §§ 12.1, 12.2. The court refused to consider the

             agreed-to terms of that settlement or make findings as to why additional remedies

             were necessary and appropriate for Epic’s claimed injuries. See Dkt. 1000 at 144:4-

             5 (faulting Google for invoking State Settlement). Approving the settlement would

             trigger conduct changes that will abate the conduct addressed at trial.

             III.   EPIC FACES NO IRREPARABLE HARM FROM A STAY.

                    A stay pending appeal will not harm Epic, which will continue to distribute

             apps on Android via other app stores or user-initiated installations. A number of

             these remedies (e.g., payments and steering policies) have no impact on Epic,

             because it distributes no apps on Play and offers no third-party payment platform to

             other developers who do.

                    Google remains committed to implementing the State Settlement.             Its

             provisions address the very issues that Epic complained of at trial—ensuring

             opportunities for OEMs preinstallation, exclusive launch deals with developers, use

             of alternative billing options for developers who (unlike Epic) distribute their apps

             through Play, and downloads of apps directly from a website like Epic’s. State

             Settlement §§ 6.3, 6.6, 6.8, 6.10. This reinforces Epic’s lack of harm from a stay

             pending appeal.




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                                               CONCLUSION

                    This Court should grant an immediate administrative stay. It should then stay

             the October 7, 2024 injunction pending appeal, except for ¶ 8.

                    If the Court denies a stay, Google respectfully requests the Court extend the

             compliance deadlines in ¶¶ 4-7, 9-10, and 13 until 30 days after this Court rules.


             Dated: October 16, 2024                   Respectfully submitted,

                                                       /s/ Neal Kumar Katyal

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                                      CERTIFICATE OF COMPLIANCE

                    Pursuant to this Court’s order of _________, 2024, I certify that this motion

             complies with applicable type-volume and length limitations because it contains

             6,593 words, excluding the items exempted by Federal Rules of Appellate Procedure

             27(a)(2)(B) and 32(f).

                    This motion complies with the typeface and typestyle requirements of Federal

             Rule of Appellate Procedure 32(a)(5)-(6) because this motion has been prepared in

             a proportionally spaced typeface using Microsoft Office Word for Office 365 in 14-

             point Times New Roman font.

                                                                 /s/ Neal Kumar Katyal
                                                                 Neal Kumar Katyal
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                                           INDEX OF EXHIBITS

                Exhibit                           Document Description

                   A        Dkt. 1016 – Order re UCL Claim and Injunctive Relief

                   B        Dkt. 1017 – Permanent Injunction

                   C        Dkt. 82 – First Amended Complaint (excerpts)

                   D        Dkt. 505 – Joint Submission re Trial Proposal (excerpts)

                   E        Dkt. 573 – Defendants’ Opposition to Motion to Bifurcate Trial
                            (excerpts)

                    F       Dkt. 850 – Final Jury Instructions for Epic Trial (excerpts)

                   G        Dkt. 952 - Epic’s Proposed Permanent Injunction

                   H        Dkt. 952-1 – Statement of B. Douglas Bernheim (excerpts)

                    I       Dkt. 957-1 – Statement of Matthew Gentzkow (excerpts)

                    J       Dkt. 981/982-2 – Google’s Proffer re Epic’s Proposed Remedies
                            (Redacted/Sealed)

                   K        Dkt. 981-1 – Baccetti Declaration

                   L        Dkt. 981-3 – Cunningham Declaration

                   M        Dkt. 981-4/Dkt. 982-3 –Cramer Declaration (Redacted/Sealed)

                   N        Dkt. 981-5/Dkt. 982-4 –Kleidermacher Declaration
                            (Redacted/Sealed)

                   O        Dkt. 984 – Order re Google’s Renewed JMOL Motion

                    P       Dkt. 985 – Epic’s Response to Google’s Proffer

                   Q        Dkt. 1020-1 – Baccetti Declaration

                   R        Dkt. 1020-2 – Iannuccilli Declaration



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                Exhibit                          Document Description

                    S       Dkt. 1020-3 – Kleidermacher Declaration

                   T        Dkt. 522-2, Case No. 3:21-cv-05227-JD – State Settlement

                   U        10/19/2023 Hearing Transcript (Dkt. 707, Case No. 3:20-cv-5671)

                   V        11/2/2023 Trial Transcript (Dkt. 834) (excerpts)

                   W        11/7/2023 Trial Transcript (Dkt. 836) (excerpts)

                   X        11/13/2023 Trial Transcript (Dkt. 839) (excerpts)

                   Y        11/20/2023 Trial Transcript (Dkt. 843) (excerpts)

                   Z        Morrill Transcript (played by video during trial on 11/20/2023)
                            (excerpts)

                  AA        11/27/2023 Trial Transcript (Dkt. 845) (excerpts)

                   BB       11/30/2023 Trial Transcript (Dkt. 848) (excerpts)

                   CC       12/1/2023 Trial Transcript (Dkt. 849) (excerpts)

                  DD        12/11/2023 Trial Transcript (Dkt. 867) (excerpts)

                   EE       Trial Exhibit #11405 (Dkt. 888-94)

                   FF       5/23/2024 Hearing Transcript (Dkt. 977)

                  GG        8/14/2024 Hearing Transcript (Dkt. 1000)




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                                       CERTIFICATE OF SERVICE

                     I hereby certify that I electronically filed the foregoing with the Clerk of the

             Court for the United States Court of Appeals for the Ninth Circuit by using the

             appellate ACMS system on October 16, 2024.

                     I certify that all participants in the case are registered ACMS users and that

             service will be accomplished by the appellate ACMS system.


                                                                   /s/ Neal Kumar Katyal
                                                                   Neal Kumar Katyal
